                Case 09-53588    Doc 3   Filed 11/03/09 Entered 11/03/09 11:38:29                                                     Desc Main
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B6A (Official Form 6A) (12/07)

In re:   Donald Ray Preskitt                                                                                   Case No.
                                                              ,
                                                                                                                                           (If known)
                                         Debtor



                                 SCHEDULE A - REAL PROPERTY




                                                                           HUSBAND, WIFE, JOINT
                                                                                                               CURRENT VALUE
                                                                                                                OF DEBTOR'S




                                                                              OR COMMUNITY
                                                                                                                 INTEREST IN
               DESCRIPTION AND                                                                               PROPERTY, WITHOUT                    AMOUNT OF
                                             NATURE OF DEBTOR'S
                 LOCATION OF                                                                                   DEDUCTING ANY                       SECURED
                                            INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                          CLAIM
                                                                                                                OR EXEMPTION




 576 Hendrick Rd                     Fee Owner                                     J                                     $ 68,000.00                    $ 51,745.00
 Fort Valley Ga 31030
 Value $68,000.00
 less cost sale $6800.00
 less lien $51,745.00
 equal equity $9455.00

                                                                   Total                              $ 68,000.00
                                                                                                  (Report also on Summary of Schedules.)
                Case 09-53588                     Doc 3      Filed 11/03/09 Entered 11/03/09 11:38:29                                 Desc Main
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B6B (Official Form 6B) (12/07)

In re   Donald Ray Preskitt                                                          ,              Case No.
                                                                Debtor                                                                 (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF
                                                                                                                                        DEBTOR'S INTEREST




                                                                                                                 OR COMMUNITY
                                                                                                                                        IN PROPERTY, WITH-
                                                                         DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
                                                    NONE
            TYPE OF PROPERTY                                                   OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                           OR EXEMPTION




  1. Cash on hand                                   X
  2. Checking, savings or other financial           X
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
  3. Security deposits with public utilities,       X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                      HHG- no one item exceeds $300.00 in value                 J                              3,500.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,         X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                               X
  7. Furs and jewelry.                              X
  8. Firearms and sports, photographic, and         X
     other hobby equipment.
  9. Interests in insurance policies. Name          X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each               X
     issuer.
 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
                  Case 09-53588                     Doc 3        Filed 11/03/09 Entered 11/03/09 11:38:29                                    Desc Main
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Donald Ray Preskitt                                                             ,           Case No.
                                                                  Debtor                                                                      (If known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)




                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                               CURRENT VALUE OF
                                                                                                                                               DEBTOR'S INTEREST




                                                                                                                        OR COMMUNITY
                                                                                                                                               IN PROPERTY, WITH-
                                                                            DESCRIPTION AND LOCATION                                           OUT DEDUCTING ANY
                                                      NONE
               TYPE OF PROPERTY                                                   OF PROPERTY                                                     SECURED CLAIM
                                                                                                                                                  OR EXEMPTION




 19. Equitable or future interests, life estates,     X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests           X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated                X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                   X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general          X
     intangibles. Give particulars.
 24. Customer lists or other compilations             X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other                1995 Dodge Intrepid                                                                             1,400.00
     vehicles and accessories.
        Automobiles, trucks, trailers, and other             1998 Dodge Ram 1500                                            J                                3,800.00
        vehicles and accessories.
 26. Boats, motors, and accessories.                  X
 27. Aircraft and accessories.                        X
 28. Office equipment, furnishings, and               X
     supplies.
 29. Machinery, fixtures, equipment and               X
     supplies used in business.
 30. Inventory.                                       X
 31. Animals.                                         X
 32. Crops - growing or harvested. Give               X
     particulars.
 33. Farming equipment and implements.                X
 34. Farm supplies, chemicals, and feed.              X
 35. Other personal property of any kind not                 riding lawn mower- not running                                                                   200.00
     already listed. Itemize.

                                                             1    continuation sheets attached                Total                                        $ 8,900.00

                                                                                                                  (Include amounts from any continuation sheets
                                                                                                                  attached. Report total also on Summary of
                                                                                                                  Schedules.)
              Case 09-53588               Doc 3        Filed 11/03/09 Entered 11/03/09 11:38:29                      Desc Main
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B6C (Official Form 6C) (12/07)


In re   Donald Ray Preskitt                                                                        Case No.
                                                                                      ,
                                                                                                                           (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                            $136,875
   11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                           VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                           CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                          EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                        EXEMPTION


1998 Dodge Ram 1500                         Ga. Code Ann. § 44-13-100(a)(3)                    3,500.00                                 3,800.00

                                            Ga. Code Ann. § 44-13-100(a)(6)                      300.00

576 Hendrick Rd                             Ga. Code Ann. § 44-13-100(a)(1)                    9,455.00                                68,000.00
Fort Valley Ga 31030
Value $68,000.00
less cost sale $6800.00
less lien $51,745.00
equal equity $9455.00
HHG- no one item exceeds                    Ga. Code Ann. § 44-13-100(a)(4)                    3,500.00                                 3,500.00
$300.00 in value
                  Case 09-53588              Doc 3        Filed 11/03/09 Entered 11/03/09 11:38:29                                                                             Desc Main
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B6D (Official Form 6D) (12/07)


 In re   Donald Ray Preskitt                                                                                  ,
                                                                                                                          Case No.
                                                                                                                                                                          (If known)
                                                         Debtor


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


               CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                                    AMOUNT OF




                                                                     HUSBAND, WIFE, JOINT
                 MAILING ADDRESS                                                                       INCURRED, NATURE                                                  CLAIM WITHOUT               UNSECURED




                                                                                                                                             UNLIQUIDATED
                                                                       OR COMMUNITY




                                                                                                                                CONTINGENT
                                                                                                                                                                                                     PORTION, IF



                                                          CODEBTOR




                                                                                                                                                            DISPUTED
             INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                                     DEDUCTING
               AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                                     VALUE OF                    ANY
              (See Instructions, Above.)                                                              VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                        SUBJECT TO LIEN


 ACCOUNT NO.                                                                                                                                                                           349.78                     0.00
                                                                                            1995 Dodge Intrepid
 First Franklin
                                                                                            riding lawn mower- not running
 106 N Camelia Blvd
                                                                                            __________________________
 Ft Valley Ga 31030
                                                                                            VALUE $1,600.00



 ACCOUNT NO.                                                                                                                                                                        6,652.89                5,052.89
                                                                                            1995 Dodge Intrepid
 First Franklin
                                                                                            riding lawn mower- not running
 106 N Camelia Blvd
                                                                                            __________________________
 Fort Valley Ga 31030-3078
                                                                                            VALUE $1,600.00



 ACCOUNT NO.                                                                                                                                                                      51,745.00                       0.00
                                                                                            576 Hendrick Rd
 Select Portfolio Service
                                                                                            Fort Valley Ga 31030
 PO Box 65250
                                                                                            Value $68,000.00
 Salt Lake City UT 84165-0250
                                                                                            less cost sale $6800.00
                                                                                            less lien $51,745.00
                                                                                            equal equity $9455.00
                                                                                            __________________________
                                                                                            VALUE $68,000.00




 0        continuation sheets
          attached
                                                                                            Subtotal
                                                                                            (Total of this page)
                                                                                                                                                                         $        58,747.67 $               5,052.89



                                                                                            Total                                                                        $        58,747.67 $              5,052.89
                                                                                            (Use only on last page)


                                                                                                                                                                       (Report also on Summary of (If applicable, report
                                                                                                                                                                       Schedules)                 also on Statistical
                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                  Liabilities and
                                                                                                                                                                                                  Related Data.)
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B6E (Official Form 6E) (12/07)

In re       Donald Ray Preskitt                                                          ,                               Case No.
                                                                Debtor                                                                               (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                    1 continuation sheets attached
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B6E (Official Form 6E) (12/07) – Cont.


In re     Donald Ray Preskitt                                                                                                                                             Case No.
                                                                                                                 ,                                                                                 (If known)
                                                                       Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                (Continuation Sheet)




                                                                  HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                               DATE CLAIM WAS                                                               AMOUNT            AMOUNT          AMOUNT




                                                                    OR COMMUNITY




                                                                                                                                               UNLIQUIDATED
                                                                                                                                  CONTINGENT
              MAILING ADDRESS                                                                INCURRED AND                                                                OF CLAIM        ENTITLED TO         NOT


                                                       CODEBTOR




                                                                                                                                                              DISPUTED
            INCLUDING ZIP CODE,                                                             CONSIDERATION                                                                                 PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                  FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                         ANY



 ACCOUNT NO.
                                                                                                                                                                                                                $0.00




Sheet no. 1 of 1 continuation sheets attached to Schedule of
                                                                                                                                 Subtotals
                                                                                                                     (Totals of this page)
                                                                                                                                                                  $          0.00 $             0.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                Total
                                                                                         (Use only on last page of the completed
                                                                                         Schedule E. Report also on the Summary of
                                                                                                                                                                 $           0.00
                                                                                         Schedules.)
                                                                                                                                  Total
                                                                                         (Use only on last page of the completed                                                     $          0.00 $            0.00
                                                                                         Schedule E. If applicable, report also on the
                                                                                         Statistical Summary of Certain Liabilities
                                                                                         and Related Data. )
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B6F (Official Form 6F) (12/07)

In re    Donald Ray Preskitt                                                                                                              Case No.
                                                                                                                 ,
                                                           Debtor                                                                                                             (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                           AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                              CLAIM




                                                            CODEBTOR




                                                                                                                                                                                               DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.                                                                                                                                                                                                     609.30
 Capital Management Sevices                                                                     collection/HSBC Orchard Bank
 726 Exchange Street Ste 700
 Buffalo NY 14210



 National Enterprise Systems
 29125 Solon Rd
 Solon OH 44139-3442
ACCOUNT NO.                                                                                                                                                                                                     826.05
 ESM Enterprises                                                                                collection/Household Orchard Card
 PO Box 11128
 Pensacola FL 32524



ACCOUNT NO.                                                                                                                                                                                                   1,404.05
 Gerald E Moore & Assoc                                                                         collection/Capital One Bank
 Po Box 672456
 Marietta Ga 30006



 John M Duffoo
 Attorney at Law
 Po Box 876
 Smyrna, Ga 30081




                1    Continuation sheets attached

                                                                                                                                                                Subtotal                           $          2,839.40



                                                                                                                                                                                                   $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Donald Ray Preskitt                                                                                                                 Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.                                                                                                                                                                                                          UNK
 HSBC Auto Finance                                                                                   possible defciency balance on 2005
 PO Box 5218                                                                                         Dodge Ram Truck
 Carol Stream IL 60197-5218



 HSBC Auto Finance
 Bankruptcy Notices
 PO Box 17909
 San Diego CA 92177-7909




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $              0.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $           2,839.40
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
              Case 09-53588               Doc 3       Filed 11/03/09 Entered 11/03/09 11:38:29                          Desc Main
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B6G (Official Form 6G) (12/07)


In re:   Donald Ray Preskitt                                                        ,        Case No.
                                                         Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
             Case 09-53588             Doc 3          Filed 11/03/09 Entered 11/03/09 11:38:29       Desc Main
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B6H (Official Form 6H) (12/07)


In re: Donald Ray Preskitt                                                    Case No.
                                                                       ,                          (If known)
                                                        Debtor


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                 NAME AND ADDRESS OF CREDITOR
                 Case 09-53588                  Doc 3   Filed 11/03/09 Entered 11/03/09 11:38:29                                 Desc Main
B6I (Official Form 6I) (12/07)                           Document     Page 12 of 15
 In re     Donald Ray Preskitt                                                       ,                  Case No.
                                                                  Debtor                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       MARRIED
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          SON
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     unemployed
 Name of Employer

 How long employed
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                      0.00 $
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $

 3. SUBTOTAL                                                                                        $                     0.00     $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                      0.00 $
                                                                                                    $                      0.00 $
         b. Insurance
         c. Union dues                                                                              $                      0.00 $
         d. Other (Specify)                                                                         $                      0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                      0.00 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                      0.00 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $
 8. Income from real property                                                                       $                      0.00 $
 9. Interest and dividends                                                                          $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $
 12. Pension or retirement income                                                                   $                      0.00 $
 13. Other monthly income
 (Specify) son's social security                                                                   $                   515.00     $
              VA disability                                                                        $                 1,459.00     $

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $               1,974.00      $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 1,974.00 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 1,974.00
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 None
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B6J (Official Form 6J) (12/07)

  In re Donald Ray Preskitt                                                          ,                          Case No.
                                                           Debtor                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                   509.00
      a. Are real estate taxes included?           Yes                    No
       b. Is property insurance included?          Yes                    No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   250.00
               b. Water and sewer                                                                                             $                    20.00
               c. Telephone                                                                                                   $                    85.00
               d. Other cable                                                                                                $                     90.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     0.00
 4. Food                                                                                                                      $                   400.00
 5. Clothing                                                                                                                  $                    30.00
 6. Laundry and dry cleaning                                                                                                  $                    25.00
 7. Medical and dental expenses                                                                                               $                   350.00
 8. Transportation (not including car payments)                                                                               $                   150.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                    50.00
10. Charitable contributions                                                                                                  $                     0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                     0.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                   114.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                      0.00
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                     0.00
 15. Payments for support of additional dependents not living at your home                                                    $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                     0.00
 17. Other beauty/barber                                                                                                      $                     25.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 2,098.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
 None
 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 1,974.00
           b. Average monthly expenses from Line 18 above                                                                     $                 2,098.00
           c. Monthly net income (a. minus b.)                                                                                $                  -124.00
                  Case 09-53588                Doc 3        Filed 11/03/09 Entered 11/03/09 11:38:29                                  Desc Main
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                                Middle District of Georgia


In re Donald Ray Preskitt                                                              ,                    Case No.
                                                               Debtor
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                       1        $            68,000.00

 B - Personal Property                        YES                       2        $              8,900.00

 C - Property Claimed
     as Exempt                                YES                       1

 D - Creditors Holding                        YES                       1                                     $               58,747.67
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                       2                                     $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                       2                                     $                 2,839.40
     Nonpriority Claims

 G - Executory Contracts and                  YES                       1
     Unexpired Leases

 H - Codebtors                                YES                       1

 I - Current Income of                                                                                                                         $            1,974.00
     Individual Debtor(s)                     YES                       1

 J - Current Expenditures of                  YES                       1
     Individual Debtor(s)                                                                                                                      $            2,098.00

                                                                      13         $            76,900.00       $               61,587.07
                                    TOTAL
              Case 09-53588                Doc 3        Filed 11/03/09 Entered 11/03/09 11:38:29                                   Desc Main
                                                         Document     Page 15 of 15
B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Donald Ray Preskitt                                                            ,                                Case No.
                                                           Debtor                                                                        (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        15
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 11/3/2009                                                                Signature: s/ Donald Ray Preskitt
                                                                                            Donald Ray Preskitt
                                                                                                                        Debtor
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
